Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1667 Filed 04/19/16 Page 1 of 12




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 JOAQUIN TASIS,                                   Civil Case No. 13-12437
                                                  Criminal Case No. 10-20442-2
              Movant,
 v.                                               SENIOR U.S. DISTRICT JUDGE
                                                  ARTHUR J. TARNOW
 UNITED STATES OF AMERICA,

              Respondent.

                                        /

   ORDER DENYING MOVANT’S MOTION TO VACATE, SET ASIDE, OR CORRECT
    SENTENCE [140]; DENYING MOVANT A CERTIFICATE OF APPEALABILITY;
  DENYING AS MOOT MOVANT’S MOTION FOR STATUS CONFERENCE [143]; AND
       DENYING MOVANT’S MOTION FOR SENTENCE REDUCTION [151]

       On May 6, 2011, a jury convicted Movant of one count of conspiracy to

 commit Medicare fraud, in violation of 18 U.S.C. § 1349; three counts of health

 care fraud, in violation of 18 U.S.C. §§ 2 and 1347; and one count of conspiracy to

 violate the health care anti-kickback statute, in violation of 18 U.S.C. § 371 and 42

 U.S.C. § 1320a-7b(b)(1)(A). On December 2, 2011, the Court sentenced Movant

 to six-and-a-half years (78 months) of imprisonment on the first four counts and

 five years (60 months) of imprisonment on the last count, to run concurrently.

 Movant appealed. The Sixth Circuit affirmed the judgment on October 4, 2012.

 United States v. Tasis, 696 F.3d 623 (6th Cir. 2012).


                                        1 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1668 Filed 04/19/16 Page 2 of 12




       On June 3, 2013, Movant filed a Motion to Vacate, Set Aside, or Correct

 Sentence [140]. On March 13, 2014, he filed a Motion for Status Conference

 [143]. On October 7, 2015, the Court issued an Order [147] requiring the United

 States to file a response to Movant’s motion to vacate his sentence. The United

 States filed its Response [153] on December 14, 2015. Prior to that, on November

 6, 2015, Movant filed a Motion for Reduction of Sentence [151].

       For the reasons stated below, Movant’s Motion to Vacate, Set Aside, or

 Correct Sentence [212] is DENIED, and Movant is DENIED a certificate of

 appealability. Movant’s Motion for Status Conference [143] is therefore DENIED

 as moot. Finally, Movant’s Motion for Sentence Reduction [151] is also

 DENIED.

                              FACTUAL BACKGROUND

       Evidence at trial supported the allegation that Movant participated in

 defrauding Medicare through fraudulent “infusion clinics” in Miami, Florida, in

 2005 and 2006. Movant and his Miami co-conspirators targeted Medicare

 beneficiaries living with HIV, bribed them for use of their Medicare information,

 and used that information to bill Medicare for infusion therapy drugs that were not

 provided.

       Meanwhile, Clara and Caridad Guilarte, owners of the Dearborn Medical

 Rehabilitation Center (DMRC) in Livonia, Michigan, were operating a fraudulent
                                    2 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1669 Filed 04/19/16 Page 3 of 12




 infusion clinic as well. They informed one of Movant’s co-conspirators, Daisy

 Martinez, that Medicare was paying well for their fraudulent treatment of

 beneficiaries living with HIV and/or Hepatitis C. On or about January 2006,

 Movant, his brother Martin, Martinez, and co-conspirator Jose Rosario traveled

 from Miami to Michigan, where they joined the DMRC scheme (the subject of the

 indictment in this case).

       Movant played a managerial role in DMRC’s recruitment of Medicare

 beneficiaries. For instance, after DMRC’s lead recruiter expressed dissatisfaction

 with his pay, threatening to alert law enforcement, Movant met with him and

 negotiated a pay raise. Further, a DMRC co-conspirator who provided oversight of

 the lead recruiter routinely sought guidance and decision-making authority from

 Movant. Finally, Movant provided approximately $7000 in funding for

 recruitment efforts.

       Movant was indicted on July 16, 2010. A Superseding Indictment [62] was

 filed March 29, 2011. On May 2, 2011, after jury selection but before the

 beginning of trial, government counsel informed the Court, in response to the

 Court’s inquiry, that the government had made an oral Rule 11 plea offer.

 Movant’s counsel informed the Court that he had conveyed the offer to Movant,

 but Movant had “wished to pursue his defenses from the beginning.” After trial,

 the jury convicted Movant.
                                       3 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1670 Filed 04/19/16 Page 4 of 12




                                       ANALYSIS

 I.    Motion to Vacate, Set Aside, or Correct Sentence [140]

       To succeed on a motion to vacate, set aside, or correct sentence, a movant

 must allege “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law that was so fundamental

 as to render the entire proceeding invalid.” Pough v. United States, 442 F.3d 959,

 964 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th

 Cir. 2003)). Movant argues that his due process rights were violated by the

 Court’s failure to hold a competency hearing. He further argues that his

 constitutional right to counsel was violated by his counsel’s ineffective assistance.

       A.     The Court’s failure to hold a competency hearing

       By statute, the Court is required to hold a hearing to determine a criminal

 defendant’s mental competency to stand trial if there is reasonable cause to believe

 the defendant is incompetent. United States v. Denkins, 367 F.3d 537, 545 (6th

 Cir. 2004) (quoting 18 U.S.C. § 4241(a)). Due process also requires the Court to

 hold a competency hearing where evidence raises a bona fide doubt as to a

 criminal defendant’s competence to stand trial. Id. at 547. “A defendant is

 competent to stand trial if he has a rational as well as factual understanding of the

 proceedings against him and has sufficient present ability to consult with his

 lawyer with a reasonable degree of rational understanding.” United States v.
                                       4 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1671 Filed 04/19/16 Page 5 of 12




 Heard, 762 F.3d 538, 541 (6th Cir. 2014) (quoting Dusky v. United States, 362

 U.S. 402, 402 (1960)) (internal quotation marks omitted). “Evidence of a

 defendant’s irrational behavior, his demeanor at trial, and any prior medical

 opinion on competence to stand trial are all relevant in determining whether further

 inquiry is required.” Franklin v. Bradshaw, 695 F.3d 439, 447 (6th Cir. 2012)

 (quoting Drope v. Missouri, 420 U.S. 162, 180 (1975)) (internal brackets omitted).

       The Court was never presented with reasonable cause to believe Movant was

 incompetent to stand trial. The only evidence of incompetence identified by

 Movant is an expert report prepared, at the request of Movant’s counsel, by clinical

 psychologist Lisa Potash after Movant was convicted. Dr. Potash was not a

 treating provider for Movant; she prepared her report after reviewing his medical

 records and meeting him (along with his wife and eldest daughter) one time. Dr.

 Potash opined that Movant experienced various symptoms associated with

 posttraumatic stress disorder (PTSD) and traumatic brain injury. She did not,

 however, express any opinion on how these symptoms affected Movant’s

 competence to stand trial. Instead, she addressed how Movant’s symptoms

 affected his ability to withstand incarceration—a markedly different issue.

       It is true that Dr. Potash identified symptoms that could impair Movant’s

 ability to assist in his defense, such as short-term memory loss and difficulty with

 sustained concentration. In light of Movant’s demeanor at trial, however, the mere
                                       5 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1672 Filed 04/19/16 Page 6 of 12




 identification of such symptoms did not raise reasonable cause to doubt Movant’s

 competency. In addition to speaking briefly at his arraignment and at his

 sentencing hearing, Movant provided trial testimony for roughly two hours on May

 5, 2011. Movant testified in a manner raising no doubts about his ability to

 understand the proceedings and assist in his defense. Though he twice invoked his

 health problems as an explanation for not remembering certain details, those

 details were remote in time. Since memory is imperfect for even the healthiest

 individual, Movant’s occasional assertions of forgetfulness did not give the Court

 reasonable cause to doubt his competence. Nor did any other evidence.

       In sum, the Court’s decision not to hold a competency hearing did not

 violate Movant’s due process rights.

       B.    Ineffective assistance of counsel

       Movant alleges a violation of his constitutional right to the effective

 assistance of counsel. To establish ineffective assistance of counsel, Movant must

 show that his counsel rendered deficient performance and thereby prejudiced

 Movant’s defense so as to render the outcome of the proceedings unreliable. See

 Strickland v. Washington, 466 U.S. 668, 687 (1984). Movant identifies several

 alleged deficiencies in his counsel’s performance. None, however, meet the

 Strickland standard.


                                        6 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1673 Filed 04/19/16 Page 7 of 12




              1.    Failure to file motion to determine competency

       Movant faults his counsel for failing to file a motion for a competency

 hearing. Even if counsel had filed such a motion, the Court would be required to

 hold a competency hearing only if it found reasonable cause to believe Movant was

 incompetent. 18 U.S.C. § 4241(a). As explained above, nothing presented to the

 Court established such reasonable cause. Movant has not identified additional

 evidence of incompetence that his counsel should have presented to the Court.

 Thus, Movant has not shown that his counsel’s failure to file a motion for a

 competency hearing constituted deficient performance or prejudiced his defense.

              2.    Advice to reject plea deal

       Movant faults his counsel for advising him to reject a plea deal pursuant to

 which the government would recommend a sentence no greater than four years.1

 According to Movant, his counsel advised him to proceed to trial because the

 government had “no evidence” other than the testimony of three “snitches” or

 “rats.” Counsel allegedly boasted that he was a “rat killer” and would therefore

 “destroy” these witnesses’ credibility.



 1
   In its Response, the government asserts that its plea offer was not for a four-year
 sentence, but for a sentencing guidelines range of 4.75 years (51 months) to nearly
 six years (71 months). Because the government points to no evidence concerning
 its plea offer, the Court assumes, for purposes of this motion, that Movant has
 accurately characterized the offer.
                                         7 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1674 Filed 04/19/16 Page 8 of 12




       Assuming that counsel provided this advice, and that the advice constituted

 deficient performance, Movant’s claim nevertheless fails because he has not

 alleged prejudice. “To show prejudice from ineffective assistance of counsel

 where a plea offer has lapsed or been rejected because of counsel’s deficient

 performance, defendants must demonstrate a reasonable probability they would

 have accepted the earlier plea offer had they been afforded effective assistance of

 counsel.” Missouri v. Frye, 132 S. Ct. 1399, 1409 (2012). Movant does not even

 assert, let alone provide or point to any evidence, that he would have accepted the

 plea offer absent counsel’s characterization of the government’s evidence and his

 own witness-impeaching skills. Without allegations or evidence in support of

 prejudice, Movant’s claim for ineffective assistance concerning the plea offer is

 simply too speculative.

              3.    Opening the door to evidence of prior fraud

       Movant faults his counsel for asking questions at trial that allegedly led the

 Court to admit evidence of Movant’s involvement in the Florida fraud schemes.

 Because the Florida fraud predated the conduct encompassed by the indictment,

 the Court initially ruled that the government could not introduce evidence of it.

 The government filed a Motion for Clarification [72]. In arguing the motion,

 government counsel explained that two of Movant’s Florida co-conspirators would

 testify for the government; posited that defense counsel might, on cross-
                                        8 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1675 Filed 04/19/16 Page 9 of 12




 examination, create the impression that these co-coconspirators had no prior

 relation to Movant; and asked if, in that case, the government could ask about the

 Florida schemes on redirect examination to clarify the existence and nature of their

 prior relationship. The Court declined to rule on the hypothetical situation.

       At trial, Movant’s co-conspirator Daisy Martinez testified for the

 government. While cross-examining Martinez, Movant’s counsel asked how many

 schemes she and another co-conspirator, Jose Rosario, had participated in together.

 Government counsel called a sidebar and argued that Movant’s counsel had opened

 the door to evidence of the Florida schemes. The Court indicated that the door

 would not be opened if counsel withdrew the question, which he did. Counsel for

 Movant’s brother Martin proceeded to cross-examine Martinez. During her cross-

 examination, Martin’s counsel asked Martinez if it was common practice for her to

 trust the people with whom she worked, which Martinez confirmed. After a

 recess, government counsel argued that questioning on Martinez’s trust in her co-

 conspirators opened the door to asking about the basis for that trust, which could

 lead to testimony about her prior partnership with Movant in Florida. The Court

 responded that the government could ask about the basis for Martinez’s trust and

 that if her answer involved the Florida schemes, the door had been opened. On

 redirect examination, government counsel reminded Martinez of the question from

 Martin’s counsel concerning her trust in her co-conspirators, asked if she trusted
                                       9 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1676 Filed 04/19/16 Page 10 of 12




 Martin, and asked why. Martinez responded that they had worked together before

 in Miami. Over the objection of Martin’s counsel, the Court allowed the

 government to proceed to elicit testimony concerning the Florida schemes.

       Movant faults his counsel for opening the door to this evidence by asking

 Martinez if it was common practice for her to trust the people with whom she

 worked. As mentioned, however, this question was not asked by Movant’s

 counsel; it was asked by counsel for his brother Martin. Government counsel even

 referred to Martin’s counsel by name when beginning the line of questioning that

 first elicited testimony concerning the Florida schemes. Thus, Movant has failed

 to show that the admission of such evidence was attributable to the deficient

 performance of his counsel.

       C.    Conclusion on motion to vacate sentence

       Movant has failed to show a violation of his constitutional rights to due

 process and the effective assistance of counsel. Accordingly, Movant’s Motion to

 Vacate, Set Aside, or Correct Sentence [212] is denied. Movant has also failed to

 make a substantial showing of the denial of a constitutional right. Thus, the Court

 will deny Movant a certificate of appealability. See Tennard v. Dretke, 542 U.S.

 274, 282 (2004) (citing 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473,

 484 (2000)). Finally, the denial of Movant’s motion renders moot his Motion for a

 Status Conference [143]. The latter motion is therefore denied as well.
                                      10 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1677 Filed 04/19/16 Page 11 of 12




 II.   Motion for Sentence Reduction [151]

       Movant “moves for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2)

 based on a guideline range that has subsequently been lowered and made

 retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.

 § 994(u).” However, Movant fails to identify or discuss any sentencing guideline

 range or any act of the United States Sentencing Commission.2 Movant simply

 asks the Court to consider his “post-sentencing conduct and rehabilitation.” He

 identifies no authority, however, for reducing his sentence on that basis.

 Accordingly, the Court must deny Movant’s Motion for Sentence Reduction [151].

                                    CONCLUSION

       For the reasons stated above,

       IT IS ORDERED that Movant’s Motion to Vacate, Set Aside, or Correct

 Sentence [212] is DENIED. Movant is DENIED a certificate of appealability.

       IT IS FURTHER ORDERED that Movant’s Motion for Status Conference

 [143] is DENIED as moot.



 2
  The Court has recently received many motions for sentence reduction pursuant to
 Amendment 782 to the United States Sentencing Guidelines, which “changed the
 quantity floors for many offenses listed in the Sentencing Guidelines’ Drug
 Quantity Table.” United States v. Freeman-Payne, 626 F. App’x 579, 585 (6th
 Cir. 2015). The sentencing guideline ranges for Movant’s convictions, however,
 were determined without reference to the Drug Quantity Table. Thus, even if
 Movant intended to invoke Amendment 782, it is inapplicable here.
                                        11 of 12
Case 2:10-cr-20442-AJT-MAR ECF No. 157, PageID.1678 Filed 04/19/16 Page 12 of 12




       IT IS FURTHER ORDERED that Movant’s Motion for Sentence

 Reduction [151] is DENIED.

       SO ORDERED.


                                     s/Arthur J. Tarnow
                                     Arthur J. Tarnow
 Dated: April 19, 2016               Senior United States District Judge




                                    12 of 12
